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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                             :          CASE NO. 21-58266-PMB
                                                   :
NATASHA ELEANOR PIERRE,                            :          CHAPTER 7
                                                   :
         Debtor.                                   :
                                                   :


 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
   DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY
                           PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Natasha Eleanor Pierre (“Debtor”), by and through undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee and Debtor under

Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In support

of the Settlement Motion, Trustee respectfully shows the Bankruptcy Court as follows:

                                       Jurisdiction and Venue

         1.        This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and

1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion is a

core proceeding under 28 U.S.C. § 157(b)(2).

                                             Background

         2.        On November 4, 2021 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,

modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy Court for the
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Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating Chapter 7 Case

No. 21-58266-PMB (the “Bankruptcy Case”).

       3.      Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

       4.      On the Petition Date, Debtor owned a one-half interest in that certain real property

with a common address of 5873 Sable Chase Drive, Atlanta, Georgia 30349 (the “Property”).

       5.      Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. § 541.

       6.      As part of his investigation of property of the Bankruptcy Estate, Trustee believes

that the Property has a value of approximately $275,000.00. 1

       7.      Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

                                    The Proposed Settlement

       8.      Following negotiations, Trustee and Debtor (collectively, the “Parties”) reached

an agreement (the “Settlement Agreement”) to resolve the Transfer Dispute, subject to

Bankruptcy Court approval. A copy of the Settlement Agreement is attached as Exhibit “A” to

this Settlement Motion and is incorporated herein by reference. Significant terms of the Settlement

Agreement follow: 2



1
       Because the total filed claims against the Bankruptcy Estate are small compared to the
available equity in the Property, the proposed settlement amount is significantly less than what the
Bankruptcy Estate would realize should Trustee liquidate the Interest in the Property.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.

                                                 2
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                  a. After the Settlement Approval Order becomes final, Debtor shall pay a total
                     of $11,000.00 (the “Settlement Funds”) in good funds to Trustee in
                     exchange for Trustee’s abandoning the Interest to Debtor in accordance
                     with the following schedule (the “Scheduled Payments”):

                          i. $8,000.00 within five business days of the Settlement Approval
                             Order becoming final; and

                         ii. $500.00 per month for 6 months, on the 1st day of each month,
                             beginning on October 1, 2022. 3

                  b. The Interest of the Bankruptcy Estate in and to the Property shall be deemed
                     abandoned upon the later of: (a) Trustee’s receipt in full of the Settlement
                     Funds from Debtor in good funds; or (b) the Settlement Approval Order
                     becoming final.

                  c. Debtor shall insure the Property to protect the Bankruptcy Estate against
                     loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                     receipt in full of the Settlement Funds from Debtor; or (b) the Settlement
                     Approval Order becoming final.

                  d. Debtor shall pay all ad valorem real property taxes that accrue against or as
                     a result of the Property until the later of: (a) Trustee’s receipt in full of the
                     Settlement Funds from Debtor; or (b) the Settlement Approval Order
                     becoming final.

                  e. Debtor shall pay all maintenance and repair expenses that arise from or that
                     are related to the Property until the later of: (a) Trustee’s receipt in full of
                     the Settlement Funds from Debtor; or (b) the Settlement Approval Order
                     becoming final.

                  f. The Parties stipulate and agree that Debtor shall not have a claim under
                     Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                     account of payment of the Settlement Funds, or for any reason, and that
                     neither Debtor nor any of her affiliates, agents, principals, or subsidiaries
                     shall receive a distribution from the Bankruptcy Estate.

                  g. Effective upon the Settlement Approval Order becoming final, Debtor shall
                     waive any and all obligations that the Bankruptcy Estate may otherwise
                     have to pay to Debtor out of the Settlement Funds on account of exemptions
                     asserted by or on behalf of Debtor, if any, in the Property, the Interest, or
                     the Settlement Funds.


3
       Capitalized terms not otherwise defined in this Settlement Motion shall have the meanings
ascribed to them in the Settlement Agreement.
                                                3
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                   h. There are default notices and remedies if Debtor fails to make the Scheduled
                      Payments timely.

                                          Relief Requested

       9.      By this Settlement Motion, Trustee requests that the Bankruptcy Court approve the

Settlement Agreement between the Parties.

                                           Basis for Relief

       10.     Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice Oaks

II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S. 959

(1990), in which the Eleventh Circuit stated as follows:

       When a bankruptcy court decides whether to approve or disapprove a proposed
       settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties, if
               any, to be encountered in the matter of collection; (c) the complexity
               of the litigation involved, and the expense, inconvenience and delay
               necessarily attending it; (d) the paramount interest of the creditors
               and a proper deference to their reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a




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pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960). 4

       11.     The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

       12.     Given the amount of the filed claims against the Bankruptcy Estate and the fact that

the proposed settlement should allow Trustee to make a substantial distribution to timely filed

claims, settlement on the terms described in the Settlement Agreement is a proper exercise of the

Trustee’s business judgment and in the best interests of the Bankruptcy Estate.

       13.     Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

       WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

       Respectfully submitted, this 22nd day of August 2022.

                                              ROUNTREE LEITMAN KLEIN & GEER, LLC
                                              Attorneys for Trustee

                                              By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
Century Plaza I                                  Georgia Bar No. 645709
2987 Clairmont Road, Suite 350                   mbargar@rlkglaw.com
Atlanta, Georgia 30329
404-410-1220


4
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the Eleventh
Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth Circuit
issued before October 1, 1981.
                                                 5
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                             EXHIBIT “A” FOLLOWS
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             restored to their respective foclual and legul positions which existed immediately prinr lo
             execution of this Agreement.
    13.      Parties 10 Bear Own Costs. Except as otherwise stated in this /\grccmcnl, each Pany shall
             bear its 0\'>11 cost-, (including attomey's fees) incurred in conncclion with the ncgolia1ion.
             preparation, execution. and carrying out of this Agreement und any other agreements.
             instruments, or docwnents executed in accordance with the tcnns of this /\grccment.
    14.      Time is of the Essence. Time is of the essence in lhis Agreement.

            To evidence the Parties· ah,rreement to this Agreement, they have executed and delivered it
    on the dates set forth below the signature lines, but as of the Effective Date.




    S. Grego '     s, as and only
    Chapter 7 Trustee for the bankruptcy estate of
    Natasha Eleanor Pierre (Case No. 21-58266-PMB)

    Dated:         1-, "\)      -"li!V�
    DEBTOR


   �f�
    Natasha Eleanor Pierre

    Dated:        a/ibpoJ'J-:
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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee and Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class
United States mail on the following persons or entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Lauren Drayton
The Semrad Law Firm, LLC
Suite 300235 Peachtree Street NE
Atlanta, GA 30303

Natasha Eleanor Pierre
5873 Sable Chase Ln
Atlanta, GA 30349

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305


       This 22nd day of August 2022.
                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
